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                                          U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007



                                                   January 5, 2023

Via ECF
The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re: United States v. Juan Orlando Hernandez, S7 15 Cr. 379 (PKC)

Dear Judge Castel:

       The Government respectfully requests that the Court enter the enclosed protective order
governing the handling of material to be produced by the Government pursuant to the Jencks Act
and Giglio. Defense counsel has consented to the entry of this order on behalf of the defendant.

                                                         Respectfully submitted,

                                                         DAMIAN WILLIAMS
                                                         United States Attorney

                                                   By:       /s/
                                                         Jacob H. Gutwillig
                                                         ________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ___ ________ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ ______ _




                                                         David J. Robles
                                                         Elinor L. Tarlow
                                                         Assistant United States Attorneys
                                                         (212) 637-1036

Cc:    Defense Counsel
       (Via ECF)
